
PER CURIAM.
The petition for belated appeal is granted. Petitioner shall be allowed a belated appeal from the September 11, 2014, judgments and sentences in Suwannee County Circuit Court case numbers 14-143-CF; 14-200-CF; 14-201-CF; 14-202-CF; 14-203-CF; and 14-204-CF. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R. App. P. 9.141(c)(6)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
LEWIS, WETHERELL, and MAKAR, JJ., concur.
